Cc 2:19-cv-02374-KJM-EFB Fil Q5/20 P 1 of 32
ase 21 - AN ITED STATES DISTRICT COURT | °°°*°

EASTERN States’ et CALIFORNIA

       

GARRISON JONES Case No. 2:19-cv-02374-KJM-EFB
Plaintiff,
V.
VELOCITY TECHNOLOGY SOLUTIONS. et al

SHAUNA COLEMAN, individually | LED
and as H.R. Director of Velocity Technology o20
Solutions; CHRIS HELLER, individually and WIN 8

as General Counsel of Velocity Technology sieht 48. DISTAICT COURT ig
Solutions; STEVEN KLOEBLEN, Enc i

Individually and as CEO of Velocity
Technology Solutions; MICHAEL
BALDWIN, individually and as an employee
of Velocity Technology Solutions.
Defendants.

Case No. 2:19-cv-02374-KJM-EFB
Complaint Filed: November 25, 2019

Trial Date: None Set

Judge: Hon. Edmund F. Brennan

RESPONSE OPPOSITTION TO CLAIM OF LACK OF PERSONAL
JURISDICTION BY DEFENDANTS

INTRODUCTION

Giving these defendants and their attorneys a platform only opens up and
continues their gateway of hate so that others will be allowed to follow

The requirements of Rule 12 (b)(1)were not as in the defendants motion by
including a counter claim against the plaintiff even though it be false and by
doing so the defendants submitted to personal jurisdiction of the district
court when it filed its permissive counterclaims .
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All defenses of fack of jurisdiction over the person, improper venue, and

insufficiency of service of process under rule 12(b) are waived when the
defendant includes a counterclaim in his answer. It is clear that counsel
intended to mislead the court. He added or “piled on” everything he thought
would sway the court into believing that this was a duplicate case “same
parties same claims”. Making quotes of multiple cases as well as stating that
the court had no jurisdiction over the defendants, the defendants were not
obligated to respond to the complaint and that they wanted to reserve
responding as to why they did not have to respond to the multiple waivers
submitted by the plaintiff. I can save the court some time and let them know
that the reason for all of these is the fact that the plaintiff is black and it was
for no other reason. If counsel had case precedent on these statements/quotes,
he would have gladly “stacked the deck of his motion and listed them”

However, the court knows that FRCP Rule 55 Default; Default Judgment (a)
(b) (1) (2) already has a remedy and resolution defined for defendants that
failed to plead or otherwise think they have or are not under any obligation to
respond to a complaint. It has called a default judgement, which the plaintiff
has said from the beginning that they knew already that they were in default
and it had nothing to do with being “served” as they had been in default for
some time.

In addition under FRCP 4 Summons also has a remedy for defendants who

otherwise think that they have no obligation under the law to return a waiver
sent by plaintiff FRXP Rule 4 a (2) g (2) b(4)

(B) The reasonable expenses, including attorney's fees, of any motion required
to collect those service expenses. This statue is of special concern, as it does
not distinguish that a condition of payment of these expenses are conditioned
to whether the plaintiff wins or loses the complaint. Based on past experience
where they plaintiff has at all times made statements and by their arrogant
stances, believe they are not obligated to obey the laws of this country for any
reason, especially when they are coming from a black man, is the very reason
special circumstances were added to the motion for the plaintiff knows they
will not adhere to or comply with the rules of the courts. So just like the clock
was ticking when they that put the defendants in default, so is the special
circumstances adding up for the penalties of “no obligation” that were added

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specifically for the defen ants. Motion was filed with the court on May 13,

2020.

The court has seen and now I trust experienced the pain and arrogance of the
defendants who truly feel that they laws of this country do not apply to them.
That they are exempt from all laws and rules of the court. The only obligation
that they will proudly display is the obligation to steal from their business
partners, over bill their customers and the obligation to violate every single
law they can against the black people of this county and specifically the
plaintiff at any time they can, for any purpose they can and done without any
fear whatsoever that they will be held civilly or criminally responsible. At the
same time they are still in conspiracy mode, doing everything they can to hide
the truth and most of all get to the point that the statute of limitations run out
on the criminal acts they have committed.

The court should know, that the plaintiff has over the years predicted most of
the acts by the defendants and thus the reason he has so much documented
evidence and exhibits that prove his claims.

The lengths they have went in order to “stop the spread “of their illegal acts. Just
recently, the plaintiff was “tipped off’ by a current Velocity employee that the
defendants had again put obstacles in your path. This time it was with Facebook, even
though the plaintiff does not have a Facebook, Twitter, or Instagram account they
“proactively contacted Facebook and made sure he could not register for an account to
put any information or post to social media. The plaintiff tested this recently and
received the replay below. Now how can a person who does not have an account have
it disabled because it does not meet standards?”
 

Your Account Has Been Disabled

You can't use Facebook because your account or activity on it. doesn’t fellow our
Community Standards.

If you think we disabled your account by mistake, we can take you through a few steps to
request a review

Please note that we have fewer reviewers available right now due to the coronavirus
(COVID-*9) pandenac. Because of this. we maybe unable to review all requests and the
way we handle rewews has changed. We'll guide you through a few steps to request one

This is the defendants at work. Here is another one for the court. The court will know
that counsel also mentioned a “settlement” in the case in Northern Illinois. What he
did not intentionally mention was that it was induced by fraud, misrepresentation and
was entered into by the defendants, so that their investors and business partners who
were involved in the theft of Intellectual property and the racial discrimination of the
plaintiff forced the defendants to settle before their involvement was discovered. He
also did not mention that the defendants did this to conceal state and federal crimes.
Counsel intentionally did not mention that three days after the signing of this so-called
agreement, the defendant still represented by
OGD filed an appeal to a case they had already lost on appeal more than 40
days after the deadline to file, where they lied and sent forged documents to
AZDES and to the Arizona Court of Appeals where they lied claiming the
plaintiff was still employed when they terminated him and at the date/time of
the hearing, they intentionally did not appear. The appeal was immediately
denied with special a special notation that they are not allowed to appeal the
decision”
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Another attempt at fraud

If Velocity had confidence that they had a solid agreement, why is it that they
are feverishly trying to induce me to “violate” an agreement that was void the
moment it was signed, illegal as it was to cover-up, conceal a crime,
unconsciable, and was induced by fraud and misrepresentation? Why would
they put so much effort into trying to get documented proof that I violated it,
the reason is because they know it will never stand up in court and is
completely unenforceable. If they had any doubt that they could win such a
case by filing a motion to compel or breach, they would have done so.

The incident with some attorney who contacted me out of the blue and the very
first thing he wanted was a copy of the agreement, so that he had some proof
to give to Velocity that it was shared after he specifically said he was not my
attorney, but knowing that if I did provide it, Velocity could claim I shared its
content with someone, who was not my attorney. The whole thing was a trick,
a ruse to get me to share it. Showed how desperate they are and that they are
grasping at straws. They were after the agreement as proof that I shared it with
someone who was not my attorney EXHIBITS V1 —V20

All this because a so-called multimillion dollar company refused to pay
$240.00 per week in unemployment benefits to someone they illegally
terminated. Why/ because he is black.

Velocity is the post card of a hostile racial organization

The court should see that in over three years that when they were forced to
respond to a complaint that they went back to what they do best, lie and
commit fraud. It is in their nature to do so. Then when their counsel makes a
written statement that is false and proven to be false, he then tries to put blame
back onto the plaintiff as if he did not make the statement. The court can see
this and to give them an opportunity and put them on a platform that they will
again lie to the court is why this country is in the shape it is now. Whites
always seem to have an alternate story even though the incident is caught on
video. It is not just George Floyd who has a video; I Garrison Jones has a
video of Velocity white employees stealing Intellectual property. They have
never made a statement that it was not their employees or denied what they

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were doing. Instead, they attack the person who they claim was to test-drive
this stolen material for their use and greed.

It is clear that if I was stupid enough to accept their explanation of a “hearing
in Seattle on January 13, 2019, they would “arrange for a ride to the airport
and all expenses so that I could testify against Velocity. It is my belief if I got
into a vehicle for an arranged ride to the airport that it would have been the last
time, I would have been seen alive. It was a setup pure and simple. They were
not only after the agreement but they were going to do anything to end my life
to get rid of the threat of prison, and the person who could help put them there.

I asked for a case number etc. to prove there was such a real case and never
received that information, now that they were not successful in setting me up,
and over the Thanksgiving weekend all of a sudden, “the issue with Velocity
has been resolved”

I am certain that when they lose this case, they will attempt to spring that
illegal agreement and attempt to sway the court that even though he won, he is
not entitled to a monetary ward. Well to that, I say there is no contract or
agreement especially this one that can be enforced because it is invalid also,
the defendants knew they had committed several violations of the law both
civil and criminal against the plaintiff that he had no knowledge of and the fact
that once he found out he would file litigation for damages. NO contract or
agreement can limit or pre-define the monetary award to a plaintiff before
litigation is even filed, nor a this illegal agreement, pre-set the award so that no
monetary award is received by the litigants. It is illegal and you can assure
they know that but will try to submit it to the court anyway. Here are a bunch
of criminals who thought that they had pulled off the great crime and
conspiracy and were stupid enough to not only leave a documented audit trail
back to them but, they also out of sheer stupidity created over 16 gigabytes of
illegally recorded videos of stolen intellectual property that they recorded
themselves committing a crime on the videos. How many criminals have been
sent to prison after video showed them committing a crime. Not only that,
how many criminals recorded themselves committing federal crimes. Total
ignorance and arrogance that they remotely think that they can convince
anybody or raise and once of “reasonable doubt” when the name of the

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Velocity employee Is C early displaye on the screen next to a “RED

CAMERA: indicating he is the person doing the recording.

The defendant's delay of over five (5) months as unseasonable assertion of
the defenses and as active pursuit of the court's jurisdiction. When they did
respond, they responded continuing the same them of fraud they have done
for the past three years, then when faced with active opposition instead of
what they did in the past, where they filed forged documents, received what
they wanted as expected results and then forced the plaintiff to “dig out” and
appeal these false claims, now it is clear that in mid-stream, and responses
that are not months apart, they change their position, try to blame the
plaintiff in bringing up the issue as they have done in their responses an old
“Freudian technique” when painted into a corner or caught in a lie, you take
the focus off of yourself and deflect it onto your opponent. Counsel has
abandoned his claim as it has been proven false, however in his response, he
wants the court to grant him an opportunity to give third version of this
same issue so that he can then lie to the court one more time by asserting yet
another version and or reason why they failed to replay to the complaint and
waiver.

This exemplifies the sheer madness of counsel and their client.

This law firm and their attorneys are complicit with Velocity Technology Solutions
and are intimately involved with others in an illegal activity or wrongdoing.
Obstruction of justice, aiding and abetting, interference in a federal proceedings and
hindering prosecution of Velocity for state and federal crimes committed by the
executives and employees of Velocity as well as other organizations connected to
velocity.

"all of these people are complicit in some criminal conspiracy"
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Defendants’ motion is not simply a motion to dismiss but a counter claim to the

plaintiffs’ complaint. . Pursuant to Rule 12 b (2) and 12 b (5) the rule responses and
defense is limited to response elements that include:

(2) Lack of personal jurisdiction
(3) Improper venue

(4) Insufficient process

(5) Insufficient service of process

Defendant motion contains additional elements where he is making a counter claim and
answer against the plaintiff and his complaint. This disqualifies said motion as a
motion to dismiss under Rule 12 (b) (2) and 12 12 (b) (5) but is classified as a counter
claim and answer. Answer and counter claim to the complaint as his addition of a

claim even though it be a false, the claim does not fall into any of the categories under
the Rule 12 b (2) or 12 (b) (5) as

 

+ Among the multiple grounds for early dismissal of this case is that Plaintiff previously filed and dismissed with
preyudice a virtually identical action involving the same parties and claims in the United States District Court for the
Northem District of Illinois. Plaintiff filed that case m May 2018. the parties settled the case. and Plaintiff signed a

general release. Plaintiff dismissed that case with prejudice on August 16. 2018. Jones v. Velocin: Technology Solutions,
etal. (N.D.IIL.). No. 1:18-cv-03288.

This statement does not and is not an element under either rule; it is
purely a counter claim and answer to the plaintiffs claim. Nowhere in
the rule does it state that a previous action is

Counterclaim is a claim made to rebuke accusations against you. The fact
that an alleged virtual identical case is not listed in the rule. As such,
defendants’ response waives any defense to jurisdiction as he via his response,
submitted and waived any rights of jurisdictional defenses by including said
counter claim in his answer. A counterclaim acts as a waiver of all
jurisdictional defenses
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(See below

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Indeed, Plaintiff focuses much of his second opposition [Dkt. 10] to the case he filed, settled and dismissed in the
Northern District of Hlineis. Whether Plaintiff agrees that the complaint in the Hlinois case ts “virtui ally identical” to the

complaint in this case is not material for purposes of this motion.

 

Counsel is making a false permissive counterclaim against the
plaintiff that is based on an entirely different event even that it be
false. This qualifies as an answer to the complaint, not a motion to
dismiss under FRCP Rule 12 (b) or 12 (b) (5). Said statement is an
counter claim and as such by making Furthermore and in
conjunction with that answer; is also not timely, made over 144 days
after the last waiver was sent to the defendants.

As such, the answer is well beyond the deadline date and as a result,
the defendant an order of default is the only judgement that can be
entered as the defendants in their many replies have intentionally did
not replay to the waiver, however the time period allowed for the
defendants to respond whether their defiance of the rules of the court
believes they had no obligation to respond, the clock was still
clicking. Defendants intentionally failed to respond to the complaint
in the allotted time and as such as demonstrated in previous motions
and responses, the defendants knowingly have been in default for
some time. Their defiance and disobedience of the court rules
resulted in their being in default judgement, which must be entered
against them.

. In conjunction with the obvious fraud on the court by defendants
and counsel, this is the proper resolution.

Counsel made the false claim/answer that he is now back peddling from is the
same one that he responded after being caught in a lie is where counsel was
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attempting to push the blame for this statement back onto the Blaintift as

immaterial to his motion.

However in fact the statement is a counter claim and answer to the complaint
and has nothing what so ever to do with personal jurisdiction, states, as such
his answer to the court is the same as if he surrendered to personal jurisdiction.

It is a counter claim related to an entirely different event. That they were
attempting to use to counter the plaintiffs’ complaint by making the
duplicity claim so that the court would look at it as such and dismiss
the case.

Regardless, now that he had been caught lying, claiming immaterial,
is not going to change or alter his original intent of adding this claim
to his motion in the first place.

As a foot note on Form AO399 it clearly states that they cannot
challenge service and or jurisdiction yet their disobedience is shown
where they did it anyway. Good Cause does not include a belief that
the lawsuit is groundless, or it has been brought in an improper venue,
or that the court has no jurisdiction over this matter or over the
defendant or defendant property. Yet in a show of disobedience,
defendants still filed a motion claiming exactly what the rule states
that they cannot. In plain view of their disrespect for the laws of this
country. Again, done as a means of prolonging the inevitable and
billable hours for frivolous and meritless litigation where they show
contradiction in their own motion, expecting the court to believe or
trust any statement they make as truth.

This is just a glimpse of the tactics by this law firm in coercion with
the defendants that has been happening for over 3 years now. Now
the court can see in writing the first such “defense” if it can be called
that of the racial intent that has been inflicted. Their defense is the
same as what they have done repeatedly, fraud. When caught they go

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silent or try to misdirect the attention elsewhere to give them time to

think of another false issue to make others focus on.

They truly expect the court to look the other way and ignore their
misconduct and let them continue their path of obstruction of justice,
aiding and abetting as well as their continued efforts in violation of
state and federal law.

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who ts located in the United States and who fails to return a signed waiver of service requested bv a plaintiff located in
the United States will be required to pay the expenses of service. unless the defendant shows good cause for the failure.

"Good cause” does nor include a bele {that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property,

If the waiver is signed and returned, you can still make these and all other defenses and objections, but vou cannot object to the absence of
a summons or of service.

If you waive service, then vou must, within the time specified on the waiver form. serve an answer or a motion under Rule 12 on the plaintiff
and fik a copy with the court By signing and returning the waiver form, vou ar allowed more time to respond than if a summons had been served.

The fact that counsel introduced a matters outside the pleadings as a relevant
factor in support of his motion cannot excluded by the court or the courts
decision, after it has been even prior to a hearing found to be false and
fraudulent.

Plaintiff needs to make and alert the court to be aware of the intent of counsel as well
as of other motivating factors surrounding the case before the court.

Justice Department investigation

The court need to be aware that since August 20, 2018 that the plaintiff and his
family has endured an insurmountable amount of willful, intentional vicious and
amount of retaliation from defendants and their attorneys. Since February 2019, he
has kept records of these events and have sent copies of these documents to the FBI
who then sent them to investigators, who then referred it over to the Civil Rights —

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Criminal Division. The preliminary assessment that has been received is that they

are classifying these events as a hate crime.

Their reasoning is the filing of the EEOC complaint in conjunction with the
harassment of the plaintiff and his family, interference in his ability to find and
gainful employment, where they stated that it was essentially a restraint of trade and
the numerous retaliatory and intimidation events over the past 2 '2 years.

Agreement

In addition the court needs to be aware of the intent of the defendants and counsel to
use the illegal enforceable agreement counsel mentioned in his motion of May 4,
2020 as a “trump Card” to one stop the progress of the plaintiff and if victorious,
they plan on attempting to use it as the means of not awarding the plaintiff any
monetary d damages or awards.

The agreement not only was it induced by fraud, it was to conceal the federal and
state crimes committed by Velocity employees and executives, as well as those
committed by other executives from multiple billions dollar organizations. In
addition, at the time of its signing, the defendants had committed multiple violations
of the law against the plaintiff that he had no knowledge of at the time of signing
said agreement. The defendants knew and misrepresented the fact that they had
done them from the plaintiff.

No legal agreement/contract no matter the type of agreement/contact can limit the
monetary liability of any person and or organization for future litigation, before it is
filed and that had not been filed, nor can it pre-set the award in their favor and
pre-set the amount that the plaintiff is entitled to, in claims and or violations of the
law commited by the defendants, that they knew would eventually be uncovered.

The court needs to be aware that just like in this case, the agreement was induced by
fraud, the defendants were forced to settle said case to prevent the involvement of
business partners, affiliates, and investors from being exposed who all knew of and
participated directly and or indirectly in the conspiracy to steal the intellectual
property of Infor and their involvement in the open blatant racial discrimination of
the plaintiff. The defendants had conspired for months to steal the intellectual
property of Infor and they attempted to make the plaintiff unknown to him a
participant in their illegal criminal activity, where they gave him duties of being the

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“testbed” of testing out the “Miegal videos 8 they recorded, that t ey pli anned on using

him as a model to verify the illegal process before they allowed white employees in
the organization to take the Infor/Lawson Certification exam.

They not only illegally recorded the class sessions, but they also illegally recorded
the actual exam, so they were assuring that all Velocity employees who watched
these illegal videos were guaranteed that they would also pass the final exam and
thus Velocity would then be able to charge customers higher hourly rates and obtain
other customer contracts by pushing the fact that their employees were also
Infor/Lawson certified. Hiding the fact how the certification was obtained. They
also did this to not incur travel expenses for the 6 week duration of the course as
well as not pay infor education/certification fees that total more tan 15,000 per
person to attend the class.

. EXHIBIT 25

INTRODUCTION

AFFIDAVIT

Garrison Jones, Plaintiff, do hereby certify Respectfully submitted,
that the statements and allegations set forth

in the motion to be filed true and accurate G ARRISON JONES PLAINTIFF
to the best of our knowledge and belief. P.O. Box 188911

 

Sacramento, California 95818
May 27,2020 Garrison.jones@outlook.com

 

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garrison.jones@outlook.com

From: Burman, David J. (Perkins Coie) <DBurman@perkinscoie.comé
Sent: Wednesday, November 27, 2019 5:35 PM

To: Garrison Jones

Subject: RE: Velocity

Thanks for getting back to me. Would you be willing to share with me a copy of the settlement agreement in the
Northern District of Illinois case? Also, the copy of your complaint in the court files does not include the exhibits. Do
you have a copy of the complaint with exhibits?

From: Garrison Jones <garrison.jones@outlook.com>
Sent: Wednesday, November 27, 2019 4:42 PM

To: Burman, David J. (SEA) <DBurman@perkinscoie.com>
Subject: Velocity

 

1am not surprised of your dispute with Velocity you very well should be. What I sent to Valley
Medical center is the absolute truth backed up by undisputable, clear and convincing
supporting documents where all of the sources of those documents were and are senior
management and executives. There has never been is not one single disparaging remark ,
statement and or comment contained in any communication, | have sent in regards to
Velocity. The documents if you have seen them are all true and they know it.

| filed a federal discrimination lawsuit in the US District Court of Northern Illinois on May 8,
2018. Velocity failed to file an answer because they did not have one. Then just as now, the
last thing they want to see is Garrison Jones on the witness stand in any courtroom, believe
me.

In regards to that : so called agreement” | in the next 5 days will be filing a motion in the

US in District Court of Northern Illinois where | am hoping that it will be heard by the Chief
Judge Rebecca Pallmeyer as the previous judge was assigned the previous case but he
retired. Before he retired, | had written to him on several occasions in regards to that case
and the conduct of Velocity who in just for days after the “so called agreement” continued to
harass me and my family and has done so for 11 consecutive months until | tired of it and

began to fight back. Their harassment has been going on for 2 % years, since | refused to
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participate in what | saw as illegal criminal activity. They realizing that | was not going to be a

“ good nigger” and go with the flow and keep my mouth closed, then viewed e as a threat. |
was exercising my protected right in refusing for that | am still in a battle with these clowns.
At the root of this issue an and why they are terrified is that | have in my possession,
information in regards to the theft of stolen intellectual property they stole from Infor and
used it against me as a means, tool and instrument of racial discrimination. Judge Pallmeyer is
aware of this now that | have communicated my intention to reopen the case as it was not a
simple case of discrimination that they were hiding, they were committing fraud on the court,
misrepresenting the facts and reasons why they wanted to settle the case and they went into
that “agreement under first for the fact that the reason as the end result of the agreement

was illegal, if it came to light what they did, they would lose millions of dollars in revenue as
the illegal credentials they received from the stolen intellectual property has netted them
revenue in excess of $100 million dollars. They also entered into it under false pretenses,
undue pressure from their investors and probably from Infor and their investors as well. All of
them knew about the theft of stolen intellectual property and misappropriation of trade
secrets by velocity. In my research in the past year, | also found out that some of them directly
and indirectly participated in the racial discrimination. If exposed they would also be on the
back end of losing millions, if not billions of dollars. So Velocity put tons of language in the
agreement to protect them from litigation.

While not a lawyer, | am not stupid either, | saw what they were doing, | simply wanted to
move forward from the worst employment experience in my life. Yet because they area

vindictive organization, they refuse to stop harassing me and my family. Bad mistake.

This started because they fired me while | was on FMLA, then | applied for unemployment
benefits, they then began the cover-up as the punishment for terminating someone on FMLA

is harsh. When they were sent fraudulent documents /information by AZ Department of

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Case 2:19-cv-02374-KJM-EFB Document 20 Filed 06/05/20 Loe Bor 32
Economic Security *AZDES) n they were committing fraud and claimed that | was still

employed. Wrong. | had mysteriously received and email from Senior executives recapping an
earlier conversation that said | was no longer with the firm. Again, | am not stupid to apply for
unemployment while still employed. | did that to see what their next move would be. | knew
one thing, their next move was going to be a lie. | appealed and they like me had 2 months to
prepare for the hearing, yet they did not show up. Reason, | had just received my letter to sue
from EEOC and Filed federal lawsuit, if they offered any testimony in the appeal, | would have
been able to use it in future testimony. So they took the coward way out, they sent for the 2"¢
time the same false document saying | was still employed a day before the hearing, hoping
that if it worked the 1* time , it would work again, WRONG. | objected and the judge agreed,
they were not present to properly enter the evidence and thus it was inadmissible. They lost
that appeal and 4 others with the AZ Court of Appeals In case, they sent fraudently
documents and even without my authorization sent AZDES who did not ask for it, confidential

FMLA records claiming | was unable to work.

li won all of the appeals with the truth against their so called top tier law firm Ogltree and
Deakins, who as of right now are on their third attorney that they have removed and assigned

a new one each time | beat them in these cases with the truth.
They know | am not afraid of their tactics.
This motion based on my research is going to be landmark and unprecedented. There has

never been a case in Federal, District, Circuit and, Appeals and or Supreme Court related to the

use of Intellectual Property as a means of racial discrimination..
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| will continue later, can you let me know what your dispute it. | am sure its related to me and

the fact that | had no experience with Cloudsuite and they Velocity sent me to VMC knowing

that just to bill you folks for revenue. That is the type of organization they are.

Instead of paying unemployment with the max benefits of $6240.00 for the entire 26 weeks ,

they hire a Tier 1 Law firm at $1500.00 per hour and watch them loose every single case

The

Learn to pronounce

 
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arrison.jones@outlook.com

 

From: Garrison Jones

Sent: Saturday, November 30, 2019 12:36 PM \/ ;

To: Burman, David J. (Perkins Coie)

Subject: RE: Velocity

Attachments: LEGAL detail ISSUES VELOCITY - 01_15_2018.docx; 3-Decision.pdf; AZDES APPEAL 11_15

_2019.docx; AZDES DECISION ABILITY TO WORK 10_23_2019.pdf; AZDES DECISION
DISMISS 06_23.2_2018.pdf; AZDES DOIISMISS VELOCITY APPEAL 08_20_-2018.pdf;
AZDES OVERPAYMENT DECISION 10_29_2019.pdf; AZDES OVERPAYMENT ISSUE.pdf

!am not at home at the moment, I have a dedicated laptop with most of that
information. With that said, | have had a brief time to look at this and I have questions of
my own.

I need to know what this “ dispute” you have with Velocity is based on, | am simply
making an assumption at some of these things, it could be my communication or the
performance of Velocity as far as their implementation of Infor Cloudsuite at the
facility. It’s probably both and | would bet that at some point it jeopardized the level of
patient care, however that needs discussion.

Now as far as us mutually helping each other is a concer as the information | have
already provided is rock solid with evidence that Velocity cannot dispute, it is true,
accurate and to the heart of who they are.

My initial thought is that your firm and Valley would not have reached out to me if it was
not “necessary” to as they must have seen or have had issues with Velocity that
validated the communication I sent.

I totally understand your position as far as relationships etc. However, you need to
know, | have implemented Lawson Supply Chain Software for over 27 years in 300
hospitals across this country, Canada and Australia .

Velocity has unleashed a horrific level of harassment, intimidation and retaliation against
me since | refused to participate in their criminal behavior. None of it has scared me one
single bit. Attached to this message are decisions from the AZ Court of appeals related
to appeal hearings won in my favor against Velocity and their tier one law firm Ogltree
Deakins, who by the way are on their third assigned attorney against me as the other
two, I personally cut them up and spit them out with the truth and they have still not
been able to combat this despite submitting on 4 separate occasions fraudulent
documents to the court.

It is my belief they too are complicit in this behavior , yet there is not an attorney on this
planet that can get them off Scott free. The best they will be able to do is get thema
Case 2:19-cv-02374-KJM-EFB Document 20 £6,130: 06/05/20 re e19o0f32 ._
lesser sentence. Believe me, this has been going on for 2 ‘2 years and they are feeling

the pain of their unethical practices and criminal behavior. (/ (

As far as the “ settlement agreement” Velocity violated that agreement 4 days after it
was signed, thinking just as they are now that they can at any time they want use it as a
“ get out of jail free card” and bring it up any time they feel that | am a threat to them
and it simply is not going to work and again, | am not intimidated by it or them one bit.

I sent this in an email to Chris Heller Velocity “ General Counsel” and they ignored it as
they have with a multitude of issues and statements. He is intimately involved in all of
the issues that are in front of me now.

| consider the agreement as illegal, unconsciable fraudulent and a gross
misrepresentation of what the agreement was signed by them. They were under
pressure from, Infor, Infor investors as well as their own investors to resolve the case
before the real issue surfaced and they did not want the issue of the stolen intellectual
property to ever see the light of a court room.

Velocity double crossed their own business partners and investors and continued to
harass me and my family.

The Intellectual Property issue is at the root of all of this and they all will do anything to
stop it from being exposed.

| say this because , completely related to these issues Velocity and Infor has black
listed me. I have not been able to find gainful employment since August 2018, since |
signed the agreement. Velocity and Infor has some kind of unholy- abomination of a
relationship that | cannot comprehend as it was Velocity who stole from Infor, yet they
are still doing business in the tune of over $100 million dollars. There is something
wrong with that. First you do not contact law enforcement when a firm steals your IP
and then you still do business with that firm.

That to me smells like millions of dollars in bribes, payoffs and kickbacks. It’s very
unsettling.

| am in a financial crisis because of them and this situation. | am not going to back down
and they know it. They have a history/ tendency of deny and lie first mentality. | simply
have too much incriminating evidence that they can’t touch me with all of the fraud and
deceit they have committed.

Now I have been to Seattle, when it’s not raining, it’s one of the most beautiful cities |
have ever been. | did some consulting work there for Settle Children’s but for some of
the verbiage in your initial communication, | have some concerns for just a plane ride
and hotel in exchange for some of the information in my possession. Like | said , | am

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not afraid of Veloci y, they Went a so call 2 threating emailway back in August when I got

tired of the harassment and began to fight back with “ the truth” saying that at this time
they do not want to enforce the agreement” I have for months invited them to do just
that and received no response ever. Reason, the las thing they want to see is Garrison

Jones on a witness stand. VSP

I signed the agreement because I was sick of them and wanted to move on. They signed
it for other reasons and thought It was a green light to keep attempting to punish me for
blowing the whistle on their scheme.

Part of my fighting back is the communication sent to Valley Medical Center. There are
other facilities that received same type of incriminating messages.

I know that what is at stake is hundreds of thousand if not millions of dollars based on
their contract and whatever relief you folks are seeking.

We as I see it can mutually coexist but | need and you need to understand the
ramifications for me if | am standing here alone and In the same position | am in

today. Some of the things you are asking makes us both toe the line. | would be helping
you in your endeavor and getting nothing in return. NO stipend is going to help me as |
still have 3 more battles with Velocity myself.

Please let me know your thoughts as well as the thoughts of Valley Medical Center, so I
can get a clear understanding of where this is going.

Most if not all of the exhibits in the actual lawsuit filed were in the documents sent to
Valley. “Legal detail issues Velocity file is attached as well

All of the decisions with AZ court of appeals, | won pro se at each of them.

I think I said this before, but they did not file a response in Northern Illinois to my
complaint because they did not have one. They knew I had sent them all the
incriminating evidence,, documents emails etc. and knew how bad it was if it went to
trial. At that time, ii was working on a different laptop, that crashed and had tons of
evidence on it. They know that | would and never have presented any evidence that was
not backed up by supporting documents, emails etc.

| await your response......s.sessenesensees
Case 2:19-cv-02374-KJM-EFB Document 20 Filed 06/05/20 (hoe of 32

11, (c) Additional Acts (c) If Jones develops, finds out or is contacted by any agency that the Company or all past,
present or future employees, owners, investors, officers, directors, employees, shareholders, partners,
predecessors, successors, acquirers, purchasers, affiliates, related entities, agents, representatives, insurers,
attorneys has contacted them in an effort to continue acts of retaliation, interfere in any form or fashion, prior to
and after the signing of this agreement including jones, develops that known, unknown and anonymous all past,
present or future owners, investors, officers, directors, employees, shareholders, partners, predecessors,
successors, acquirers, purchasers, affiliates, related entities, agents, representatives, insurers, attorneys, do herby
agree to not interfere in the professional career and or personal affairs/life of Jones or his family in any fashion in
a known or anonymous manner. In addition, the Company agrees only for employment purposes provide only
dates of employment and position for any firm or agency that contacts the company on any matter related to
Jones’ employment with the Company.

Non-compliance with this condition Jones does hereby renders this agreement, all terms, and conditions
rescinded, and thus agreement is null and void.

From: Burman, David J. (Perkins Coie) [mailto:DBurman@perkinscoie.com]
Sent: Wednesday, November 27, 2019 5:35 PM

To: Garrison Jones <garrison.jones@outlook.com>

Subject: RE: Velocity

Thanks for getting back to me. Would you be willing to share with me a copy of the settlement agreement in the
Northern District of Illinois case? Also, the copy of your complaint in the court files does not include the exhibits. Do
you have a copy of the complaint with exhibits?

 

From: Garrison Jones <garrison jones @outlook cam>
Sent: Wednesday, November 27, 2019 4:42 PM
To: Burman, David J. (SEA) <OBurman@ perkinscoie com>

 

Subject: Velocity

| am not surprised of your dispute with Velocity you very well should be. What | sent to Valley
Medical center is the absolute truth backed up by undisputable, clear and convincing
supporting documents where all of the sources of those documents were and are senior
management and executives. There has never been is not one single disparaging remark ,
statement and or comment contained in any communication, | have sent in regards to
Velocity. The documents if you have seen them are all true and they know it.

| filed a federal discrimination lawsuit in the US District Court of Northern Illinois on May 8,

2018. Velocity failed to file an answer because they did not have one. Then just as now, the
Case 2:19-cv-02374-KJM-EFB Document 20 Filed siostab/ A 22 of 32
last thing they want to see is Garrison Jones on the witness stand in any courtroom, believe

me.

In regards to that : so called agreement” | in the next 5 days will be filing a motion in the

US in District Court of Northern Illinois where | am hoping that it will be heard by the Chief
Judge Rebecca Pallmeyer as the previous judge was assigned the previous case but he
retired. Before he retired, | had written to him on several occasions in regards to that case
and the conduct of Velocity who in just for days after the “ so called agreement” continued to
harass me and my family and has done so for 11 consecutive months until | tired of it and
began to fight back. Their harassment has been going on for 2 % years, since | refused to
participate in what | saw as illegal criminal activity. They realizing that | was not going to be a
“ good nigger” and go with the flow and keep my mouth closed, then viewed e as a threat. |
was exercising my protected right in refusing for that | am still in a battle with these clowns.
At the root of this issue an and why they are terrified is that | have in my possession,
information in regards to the theft of stolen intellectual property they stole from Infor and
used it against me as a means, tool and instrument of racial discrimination. Judge Pallmeyer is
aware of this now that | have communicated my intention to reopen the case as it was nota
simple case of discrimination that they were hiding, they were committing fraud on the court,
misrepresenting the facts and reasons why they wanted to settle the case and they went into
that “agreement under first for the fact that the reason as the end result of the agreement

was illegal, if it came to light what they did, they would lose millions of dollars in revenue as
the illegal credentials they received from the stolen intellectual property has netted them
revenue in excess of $100 million dollars. They also entered into it under false pretenses,
undue pressure from their investors and probably from Infor and their investors as well. All of
them knew about the theft of stolen intellectual property and misappropriation of trade
secrets by velocity. In my research in the past year, | also found out that some of them directly

and indirectly participated in the racial discrimination. If exposed they would also be on the

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back end of losing millions, if not billions of dollars. So Velocity put tons of language in the

agreement to protect them from litigation. [/ {(O
While not a lawyer, | am not stupid either, | saw what they were doing, | simply wanted to
move forward from the worst employment experience in my life. Yet because they are a

vindictive organization, they refuse to stop harassing me and my family. Bad mistake.

This started because they fired me while | was on FMLA, then | applied for unemployment
benefits, they then began the cover-up as the punishment for terminating someone on FMLA
is harsh. When they were sent fraudulent documents /information by AZ Department of
Economic Security *AZDES) n they were committing fraud and claimed that | was still
employed. Wrong. | had mysteriously received and email from Senior executives recapping an
earlier conversation that said | was no longer with the firm. Again, | am not stupid to apply for
unemployment while still employed. | did that to see what their next move would be. | knew
one thing, their next move was going to be a lie. | appealed and they like me had 2 months to
prepare for the hearing, yet they did not show up. Reason, | had just received my letter to sue
from EEOC and Filed federal lawsuit, if they offered any testimony in the appeal, | would have
been able to use it in future testimony. So they took the coward way out, they sent for the 2"?
time the same false document saying | was still employed a day before the hearing, hoping

that if it worked the 1° time , it would work again, WRONG. | objected and the judge agreed,
they were not present to properly enter the evidence and thus it was inadmissible. They lost
that appeal and 4 others with the AZ Court of Appeals In case, they sent fraudently
documents and even without my authorization sent AZDES who did not ask for it, confidential

FMLA records claiming | was unable to work.
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li won all of the appeals with the truth against their so called top tier law firm Ogltree and

Deakins, who as of right now are on their third attorney that they have removed and assigned

  

a new one each time | beat them in these cases with the truth.

They know | am not afraid of their tactics.

This motion based on my research is going to be landmark and unprecedented. There has
never been a case in Federal, District, Circuit and, Appeals and or Supreme Court related to the
use of Intellectual Property as a means of racial discrimination...

| will continue later, can you let me know what your dispute it. | am sure its related to me and
the fact that | had no experience with Cloudsuite and they Velocity sent me to VMC knowing

that just to bill you folks for revenue. That is the type of organization they are.

Instead of paying unemployment with the max benefits of $6240.00 for the entire 26 weeks ,

they hire a Tier 1 Law firm at $1500.00 per hour and watch them loose every single case

The

Learn to pronounce

 
Asking for these ‘Bae 6 dseGMarted Atl Mak your RAG Wilde Fer GAR ROWie Gee AGIA af nor not say

based on them doesn’t sit weil at this time.

Especially and specifically the fact you are communicating to me on an email address you should not have had Velocity
written all over it.

if you really want these documents as | said they already have them, have them toward them to you. If they contend
something have them show you proof, they may be lying to you, then you will have clear direction if your interest is
Valley, these documents don’t have any bearing.

j always have my on
“ spidey “senses on when | smell BS and Velocity. :

So until | receive the information | asked for copy of the case , case number , court information you claim this

alleged dispute is , the nature of it and hearing is to be held as well other responses | need, to me this is just a “ spider
web trap waiting for me to get tangled in it.

No proof, no pudding. If you are communicating with Chris Heller tell him nice try

Your move

They should have told you more about me than they did. You are making to many mistakes. It’s a mistake to reference

connected items to someone you don’t know. For me. | know none of this could have come from anyone at Valley
medical center, had to be Velocity. They sound desperate.

On Nov 27, 2019, at 5:35 PM, Burman, David J. (Perkins Coie) <OBurman@verkinscole. com> wrote:

 

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From: Garrison Jones <garrison.jgxes@outloak com>
Sent: Wednesday, November 27, 2019 4:42 PM

To: Burman, David J. (SEA) <D8urman@perkinseoie. com>
Subject: Velocity

 

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garrison. jones@outlook.com

From: Burman, David J. (Perkins Coie) <DBurman@perkinscoie.com>
Sent: Monday, Novernber 25, 2019 4:48 PM
To: garrison jones@outlook.com; garrison.jones1724@outlook.com

Subject: Valley Medical Center lL [23

Thank you for reaching out to Valley Medical. Mr. Austria now works at the University of Washington Medical System,
which is affiliated with Valley Medical. | am one of the lawyers for Valley, which is in a dispute with Velocity.

You should understand that Velocity contends that you signed agreements with it, including your employment
agreement and settlement agreement, that prohibit you from sharing any of its confidential information with us, or
disparaging it. We don’t want you to accidentally violate any agreement you have with Velocity. But we are Valley’s
lawyers, not yours, so you cannot rely on us to protect you from Velocity, and if we talk there will not be any attorney-
client privilege. If you want to have your own lawyer involved, we would welcome that. And we can arrange to have
Velocity participate if you prefer that.

A hearing in Seattle is presently scheduled to start January 13. If we thought your testimony was necessary for that
hearing, would you be willing to travel to Seattle at Valley Medical’s expense? We might also be able to arrange to

question you in Chicago before that time. (I understand you live in Chicago, but let me know if that’s wrong.)

Thank you.

David J. Burman | Perkins Coie LLP

  

 
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So here it is an email out of the blue to both addresses and the fact that in your initial email you are mentioning things
like Chicago that has no connection to Valley ? because at the time | worked there | was living in AZ not Chicago.

So coupled with that and the fact that you are not my atty and no client/ atty privilege is involved and that you are
asking for items like agreements and exhibits that all have nothing to do with Valley. { have big issues. Right now you
are just someone who somehow got my email address and mentioning things that only connect them to Velocity and
Oglitree not Valley Medical.

Your non response to my request for information is the same | have gotten from both of them while they received and
store all my communication in hopes that it reveals or they get something to fight back with i.e violation of agreement
by relaying info that can only be released to my atty, which you made it perfectly clear your firm and you are not.

! would not put it past either Velocity or Ogltree to hash up a scam to get me to do this so they can run into court and
say see he violated the agreement, because ! know they have nothing else. They are grasping at straws hoping | will take
a sip.

So it’s back to playing cloak and dagger to see if | will jump off the cliff and pounce on this opportunity like they did.
However? they and you if this is the case are wrong. | trust no one. | am far from stupid. All | have sent you is info that
they already have or is public record. Anybody can get access to it.

Asking for these types of documents as if you and your firm will use them to gain knowledge on what { can or not say
based on them doesn’t sit well at this time.

Especially and specifically the fact you are communicating to me on an email address you should not have had Velocity
written all over it.

If you really want these documents as | said they already have them, have them toward them to you. If they contend
something have them show you proof, they may be lying to you, then you will have clear direction if your interest is
Valley, these documents don’t have any bearing.

| always have my

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So until | receive the information | asked for copy of the case , case number , court information you claim this

alleged dispute is , the nature of it and hearing is to be held as well other responses | need, to me this is just a “ spider
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On Nov 27, 2019, at 5:35 PM, Burman, David J. (Perkins Coie) <O8urman@perkinscoie. com> wrote:

 
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jones@outlook.com
From: Garrison Jones
Sent: Monday, December 2, 2019 11:47 AM
To: Slayton_Austria@ValleyMed.org
Subject: FW: Velocity issues

See message below. It seems really strange that in 5 days a dispute over thanksgiving is resolved

From: Burman, David J. (Perkins Coie) [maifto:DBurman@perkinscoie.com]
Sent: Monday, December 2, 2019 11:18 AM

To: Garrison Jones <garrison.jones@outlook.com>

Subject: RE: Velocity issues

Thanks for getting back to me. You are wrong about my message and intentions, but | understand why you are careful.

With respect to having both addresses, the materials you forwarded to Valley Medical included an email in which you
used one account to forward something to the other. | wasn’t sure which one was best to use. As to my inquiry about
Chicago, even before you attempted to communicate with Valley Medical, | had found your federal court lawsuit against
Velocity. It was filed in Chicago, and you filed a form that gave a residence address in Wheaton.

Fortunately, it appears that Valley Medical and Velocity have resolved their dispute. | wish you the best of luck in your
dispute with Velocity.

From: Garrison Jones <garrison.iones@outiogs com>
Sent: Sunday, December 01, 2019 12:59 PM
To: Burman, David J. (SEA) <O8urmrian@perkinscole.com>

Subject: Re: Velocity issues

 

 

 

See here is where | have issues. | was born at night but not last night.

if | am wrong my deepest apologies as you have to be careful in this world who you talk to and what information you
give them especially via email. People have lost fortunes this way.

On the other hand, if | am right, this is the exact same thing that got Velocity in the situation they are then now,
conspiracy complicit behavior running scams and paying big bucks to trap flies in their web.

lam avery strict lines in the sand person. | do not mix business and pleasure. For years | have had 2 personal email
accts. One for personal business and one strictly for my friends. | never mix the two. Most of my friends don’t have both.
| made the mistake last year and sent messages in January to Velocity unknowingly using my personal friend acct. they
began abusing both at any time they felt {ike it until { sent them a nasty email and forbid them from sending email to
that Acct. | also removed that Acct from that laptop and fixed the issue as it was defaulting to the friend Acct. They
were the only organization who ever did that. It all stopped until | jooked on my friend Acct and low and behold there
was your email message {nan Acct where it should not be ,where you had sent it to both accts. This started deja by,
reminding me the last time this ever happened, Velocity.

Your email should have never been before an email from my friend Amy informing me that she won’t be home because
she and the twins are going over to her in-laws.

That’s what | do, { pay attention to detail and when things are out of place, | notice them.

} never communicated to valley Medical in that Acct and my issue now is how did you get that account email address?
 

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garrison.jones@outlook.com

From: garrison jones <garrisonjones1724@outlook.com>

Sent: Wednesday, November 27, 2019 4:02 PM (/
To: Garrison Jones ,
Subject: Fwd: Valley Medical Center

Sent from myMail for iOS

-------- Forwarded message --------

From: Burman, David J. (Perkins Coie) <DBurman @ perkinscoie.com>

To: garrison.jones @ outlook.com <garrison.jones @ outlook.com>, garrison.jones1724 @ outlook.com
<garrison.jones 1724 @ outlook.com>

Date: Monday, November 25, 2019, 4:47 PM -0800

Subject: Valley Medical Center

Thank you for reaching out to Valley Medical. Mr. Austria now works at the University of Washington
Medical System, which is affiliated with Valley Medical. I am one of the lawyers for Valley, which is ina
dispute with Velocity.

You should understand that Velocity contends that you signed agreements with it, including your employment
agreement and settlement agreement, that prohibit you from sharing any of its confidential information with us,
or disparaging it. We don’t want you to accidentally violate any agreement you have with Velocity. But we
are Valley’s lawyers, not yours, so you cannot rely on us to protect you from Velocity, and if we talk there will
not be any attorney-client privilege. If you want to have your own lawyer involved, we would welcome

that. And we can arrange to have Velocity participate if you prefer that.

A hearing in Seattle is presently scheduled to start January 13. If we thought your testimony was necessary for
that hearing, would you be willing to travel to Seattle at Valley Medical’s expense? We might also be able to
arrange to question you in Chicago before that time. (I understand you live in Chicago, but let me know if
that’s wrong.)

Thank you.

55
Thanks fo? Betting back tome Would Fou be WIRE Tea A with! RE DESBV CF Che SAMEmienP! 22

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motion in the US in District Court of Northern Illinois where | am hoping that it
will be heard by the Chief Judge Rebecca Pallmeyer as the previous judge was
assigned the previous case but he retired. Before he retired, | had written to him
on several occasions in regards to that case and the conduct of Velocity who

in just for days after the “ so called agreement” continued to harass me and my
family and has done so for 11 consecutive months until | tired of it and began to
fight back. Their harassment has been going on for 2 % years, since | refused to
participate in what | saw as illegal criminal activity. They realizing that | was not

going to be a “ good nigger” and go with the flow and keep my mouth closed,
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| am still in a battle with these clowns. (/ (.

At the root of this issue an and why they are terrified is that | have in my
possession, information in regards to the theft of stolen intellectual property they
stole from Infor and used it against me as a means, tool and instrument of racial
discrimination. Judge Pallmeyer is aware of this now that | have communicated
my intention to reopen the case as it was not a simple case of discrimination that
they were hiding, they were committing fraud on the court, misrepresenting the
facts and reasons why they wanted to settle the case and they went into that
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agreement was illegal, if it came to light what they did, they would lose millions of
dollars in revenue as the illegal credentials they received from the stolen
intellectual property has netted them revenue in excess of $100 million

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knew about the theft of stolen intellectual property and misappropriation of
trade secrets by velocity. In my research in the past year, | also found out that
some of them directly and indirectly participated in the racial discrimination. If
exposed they would also be on the back end of losing millions, if not billions of
dollars. So Velocity put tons of language in the agreement to protect them from
litigation.

While not a lawyer, | am not stupid either, | saw what they were doing, | simply
wanted to move forward from the worst employment experience in my life. Yet
because they are a vindictive organization, they refuse to stop harassing me and

my family. Bad mistake.
 

[AZO
_ ARIZONA DEPARTMENT OF ECONOMIC SECURITY

Unemployment Insurance Propram

UB8-107 (05/17)

This is your Wage Statement for your Unemployment Insurance claim.

Please exainine it carefully to be sure that: :
- Your name, address, and social security number are correct.
* Date: 4
° a ate Wann b ane employers are correct. Date oe seg INAL DETERMINATION
- wages elong to you. Local Office 990
PO BOX 29225 MAIL DROP 5895
PHOENIX AZ 85038-9225

The back of this form has;
GABRISON JONES UR - An explanation of this determination.
| WHEATON IL b018)- 4842 — ~ What to do if any information on this
form is missing or incorrect. Protest
must. be filed within 10 working
days of the date on this form. |
— Special information regarding military,
federal civilian wages,’ and wages-—~~
@ arned in other states. ,

 
 
 
 
 
   
   

 

 

 

 

 

 

 

 

 

 

 

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15,435.89} 34,241.78) 34,090.14) 20,212.40103,980.21

YOUR WEEKLY” ‘BENEFIT. AMOUNT 18 SHOWN IN ITEM Cc AND YOUR TOTAL AWARD IS
SHOWN IN ITEM D, PAYMENTS WILL BE MADE IF YOU FILE CLAIMS. AS DIRECTED
AND MEET ALL ELIGIBILITY REQUIREMENTS.

SEE REVERSE FOR AN EXPLANATION OF WAGE STATEMENT AND ADA STATEMENT
PAGE 9/10* RCVD AT 5/2/2018 8:09:53 AM [US Mountain Standard Time] * SVRIDTSRFAXAPPPO1A/16 * DNIS:1211 * CSID: * ANI:6302415224 * DURATION (mm-ss):05-08

Exhibit # 06
